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                              UNITED STATES DISTRICT COURT                            SEP l:i'7 2020
                              EASTERN DISTRICT OF MISSOURI                           U. S. DISTRICT COURT
                                    EASTERN DIVISION                               EASTERN DISTRICT OF MO
                                                                                            ST. LOUIS

 UNITED STATES OF AMERICA,                      )
                                                )
             Plaintiff,                         )
                                                )
                                                )       No.
 V.
                                                )
                                                              4:20CR568 SEP-DON
 FRANCO SICURO, M.D.,                           )
 and                                            )
 CARLOS HIMPLER,                                )
                                                )
             Defendants.                        )

                                          INDICTMENT

        The Grand Jury charges:

                                         BACKGROUND

                                            Defendants

        1.       At all times relevant to this indictment; defendant Franco Sicuro, M.D.

("Dr. Sicuro"), was a psychiatrist, licensed to practice in the state of Missouri. Since in or about

June 2001, Dr. Sicuro has owned, operated, been the medical director, or otherwise been

associated with one or more health care related businesses, including Millennium Psychiatric

Associates ("MP A"), Advanced Geriatric Management ("AGM"), Centrec Care, Sleep

 Consultants of St. Louis, Midwest Toxicology Group ("MTG" or "Midwest"), Genotec Dx

 ("Genotec"), and Benemed Diagnostics.

        2.       At times relevant to this indictment, defendant Carlos Himpler ("Himpler") lived

in St. Louis County, Missouri and described himself as a business development strategist. Since

 in or about June 2008, Himpler has owned and operated one or more health care related

businesses, including Rest Easy of St. Louis, Sleep Consultants of St. Louis, Midwest, Genotec,



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     Core Toxicology, and Core Dx.

                 3.   At all relevant times, Dr. Sicuro and Himpler, as individuals or through their

     businesses, submitted and caused to be submitted reimbursement claims to health care benefit

     programs. As defined in Title 18, United States Code, Section 24, a health care benefit program

     is any public or private plan or contract, affecting commerce, that provides any medical benefit,

     item, or service and any individual or entity providing a benefit, item, or service under such plan

     or contract.

                 4.   The J\:'.l;edicare Program and the Medicaid Program (known as MO HealthNet in

     Missouri) are public health care benefit programs. United Health Care/Optum, Aetna Coventry,

     Anthem Blue Cross Blue Shield, CIGNA, Humana, and the Welfare Fund of the United Food

     and Commercial Workers Union, Local# 655 ("UFCW Welfare Fund") are private health care

     benefit programs ("Private Health Care Insurers").

                                        Relevant Medicare Provisions

                 5.   The United States Department of Health and Human Service~, through the

     Centers for Medicare and Medicaid Services ("CMS"), administers the Medicare Program,

     which reimburses enrolled providers for certain benefits, items,- and services provided to the
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     elderly and disabled beneficiaries. Medicare Part B reimburses health care providers for covered

     health care services provided to Medicare beneficiaries in outpatient settings.

                 6.   CMS acts through fiscal agents called Medicare Administrative Contractors or

     "MACs," which are statutory agents for CMS for Medicare Part B. The MACs are private

     entities that review,claims and make payments to providers for services rendered to Medicare

     beneficiaries. The MACs are responsible for processing Medicare claims arising within their

     assignyd geographic areas, including determining whether the claim is for a covered service.



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Wisconsin Physicians Service Insurance Corporation ("WPS") is the Part B MAC for Eastern

Missouri and thus processes reimbursement claims that Dr. Sicuro and Himpler, as individuals or

through their businesses, submit to Medicare.

       7.       To receive Medicare reimbursement, providers must make appropriate application

to the MAC and execute a written provider agreement. The provider agreement obligates the

provider to know, understand, and follow all Medicare regulations and rules. After successful

completion of the application process, the MAC assigns the provider a unique provider number,

which is a necessary identifier for billing purposes.

       8.       Medicare providers must retain clinical records for the period required by state·

law or five years from date of discharge if there is no requirement in state law.

Defendant Dr. Sicuro's Enrollment in Medicare

       9.     _ Between 2010 and 2015, defendant Dr. Sicuro completed and signed several

Medicare enrollment applications as an individual provider or on behalf of his businesses.

Contained in the September 13, 2010 application was Section 14, entitled "Penalties for

Falsifying Information," which informed Dr. Sicuro that he could be criminally prosecuted (a)

for executing or attempting to execute a health care fraud scheme or using false or fraudulent

statements or representations to obtain money from a health care benefit program or (b) making

or using false or fraudulent statements or representations in connection with the delivery or

payment for health care benefits, items, or services.

        10.     In each of the six applications, Dr. Sicuro signed the "Certification Statement" of

the application and thereby certified:

       I have read and understand the Penalties for Falsifying Information, as printed in
       the application. I understand that any deliberate omission, misrepresentation, or
       falsification of any information ... contained in any communication supplying
       information to Medicare ... [may be criminally prosecuted].


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        I agree to abide by the Medicare laws, regulations and program instructions ...
        including ... the Federal anti-kickback statute ...

        I will not knowingly present or cause to be presented a false or fraudulent claim
        for payment by Medicare, and will not submit claims with deliberate ignorance or
        reckless disregard of their truth or falsity.

Defendant Himpler' s Enrollment in Medicare

        11.     On or about February 14, 2015, Himpler completed and signed a Medicare

 enrollment application on behalf of Genotec. In the application, Himpler identified himself as the

"CEO," director/officer, and a 5% or greater owner of Genotec. Contained in the application was

 Section 14, entitled "Penalties for Falsifying Information," and Section 15, entitled "Certification

 Statement," as described in Paragraphs 9 and 10 above. Thus, Himpler was informed that he

cpuld be criminally prosecuted (a) for executing or attempting to execute a health care fraud

scheme or using false or fraudulent statements or representations to obtain money from a health

care benefit program or (b) making or using false or fraudulent statements or representations in

connection with the delivery or payment for health care benefits, items, or services.

                               Relevant Missouri Medicaid Provisions

        12.     MO HealthNet administers the Missouri Medicaid Program, which is jointly

  funded by the State of Missouri and the federal government. Missouri Medicaid reimburses

 health care providers for covered services rendered to low-income Medicaid recipients.

        13.     A Medicaid provider must enter into a written agreement with MO HealthNet to

  receive reimbursement for medical services to Medicaid recipients and must agree to abide by

 MO HealthNet's regulations in rendering and billing for those services.

                         Current Procedural Terminology (CPT) Codes

        14.     In seeking reimbursement from health insurance companies, health care



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      providers use numeric codes, known as "CPT Codes," to describe the services they provide. The

      CPT codes are contained in the Physicians Current Procedural Terminology manual. The CPT

      manual is published by the American Medical Association ("AMA") and its body of physicians

      of every specialty, who determine appropriate definitions for the codes. By submitting claims

      using these CPT codes, providers represent to the insurance companies and their patients that the

      services described by the codes were in fact provided.

               15.   Reimbursement rates for the CPT codes are set through a fee schedule, which

      establishes the maximum amount that the provider will be paid for a given service, as identified

      by the CPT code.

                          Relevant Provisions Concerning Clinical Laboratories

               16.   The Clinical Laboratory Improvement Amendments and regulations promulgated

      pursuant to this federal statute (collectively referred to hereafter as "CLIA") provide for federal
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      certification and oversight of clinical laboratory testing. In general terms, CLIA establishes

      quality standards for laboratory testing performed on specimens, such as blood, body fluid and

      tissue taken from humans, for the purpose of diagnosis, prevention, or treatment of disease, or

      the assessment of health.

               17.   An entity, performing even one test for these purposes, is considered to be a'

      laboratory and must register and obtain a CLIA certification. An entity seeking CLIA

      certification for a laboratory in Missouri must complete an application and submit it to the

      Missouri CLIA Laboratory Program, Bureau of Diagnostic Sei;-vices Evaluation of the Missouri

      Department of Health & Senior Services ("Missouri CLIA Program"). The Missouri CLIA

      Program oversees the CLIA certification program in Missouri and conducts inspections of

      laboratories on a routine basis, as well as investigating complaint allegations. A separate CLIA



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certificate is required for each location where testing is to be performed. Title 42 CFR 493 -

Laboratory Requirements.

        18.    At all rel.evant times, Medicare, Medicaid, and the Private Health Care Companies

(collectively "Health Care Insurers") would not pay for clinical laboratory tests performed by

entities that did not comply with state and federal requirements. Health Care Insurers uniformly

required entities billing for clinical laboratory tests to list on the reimbursement claim form the

name, address, and CLIA number of the laboratory performing the tests. Only in this way could

the Health Care Insurers and regulatory agencies like CMS and the Missouri CLIA Program

ensure that only CLIA certified laboratories were performing tests on human specimens.

                                       Count 1- Conspiracy
                                         18 u.s.c. § 371

       19. .   Paragraphs 1 to 18 are incorporated by reference as if fully set out herein.

       20.     Beginning in or about 2014, and continuing to in or about 2018, in the

Eastern District of Missouri and elsewhere,

                                    FRANCO SICURO, M.D.,
                                            and
                                     CARLOS HIMPLER,

the defendants herein, and persons known and unknown to the Grand Jury, did unlawfully,

willfully, and knowingly combine, conspire,.and agree with persons known and unknown to the

Grand Jury to commit the following offenses against the United States:

               a.      to defraud the United States, namely, the Centers for Medicare and

                       Medicaid Services, an agency of the United States Department of Health

                       and Human Services, through deceit, craft or trickery, and by means that

                       are dishonest, that is, by impeding, interfering, and obstructing the lawful

                       government functions of the Centers for Medicare and Medicaid Services'


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                   enforcement of the CLIA requirements for clinical laboratories and its

                   administration of health care and health care plans, including Medicare

                   and Medicaid, in violation of Title 18, United States Code, Section 371;

            b.     to defraud a health care benefit program and to obtain, by false and

                   fraudulent representations, money owned by and under the control of a

                   health care benefit program, in connection with the delivery and payment

                   of health care benefits, items, and services, in violation of Title 18, United

                   States Code; Section 1347(a); and

            c.     to knowingly and willfully falsify, conceal, and cover up by trick, scheme,

                   and device a material fact, and to make materially false, fictitious, or

                   fraudulent statements and representations, and make and use materially

                   false writings and documents knowing the same to contain materially

                   false, fictitious, and fraudulent statements and entries, in connection with

                   the delivery of and payment for health care benefits, items, or services, in

                   violation of Title 18, United States Code, Section 1035(a).

                               Purpose of the Conspiracy

      21.   The purpose of the conspiracy was for the defendants:

            a.     to own and operate clinical laboratories that they knew did not comply

                   with CLIA and other regulations governing clinical laboratories and to

                   conceal the lack of compliance from regulatory agencies and insurers;

            b.     to submit reimbursement claims to health care benefit programs that

                   falsely and fraudulently represented that the laboratories owned by the

                   defendants had performed the tests and to conceal from the insurers and



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                       regulatory agencies that the tests had been performed by reference

                       laboratories; and

               c.      to use the payments derived from the fraudulent claims to enrich

                       themselves and to purchase and acquire real and personal property with

                       the proceeds of the conspiracy and fraud scheme.

                             Manner and Means of the Conspiracy

       22.     It was part of the conspiracy that Dr. Sicuro and Himpler operated the medical

practices and laboratories, identified below, and used these businesses as a means of committing

the criminal offenses described in this Indictment.

       23.     In or about February 2001, Dr. Sicuro opened Millennium Psychiatric Associates

("MP A"), which was a group practice providing psychotherapy and other services. MP A was

located at 777 Craig ("Craig Building") in St. Louis County, Missouri.

       24.     Several years later, in or about 2004, Dr. Sicuro opened a second group practice,

Advanced Geriatric Management ("AGM"), which provided counseling and psychotherapy.

AGM was located in a building located at 10199 Woodfield ("Woodfield Building"), which was

owned by Dr. Sicuro.

       25.     In or about 2008, Himpler opened Rest Easy of St. Louis ("Rest Easy"), which

performed diagnostic sleep studies. Rest Easy, operated by Himpler, and AGM, operated by Dr.

Sicuro, were located in the Woodfield Building. In or about 2012, Dr. Sicuro and Himpler jointly

opened Sleep Consultants of St. Louis, which was also located in the Woodfield Building.

       26.     Dr. Sicuro, a psychiatrist, had some clinical laboratory testing performed in his

medical practice and referred other urine drug specimens to outside laboratories for testing. In or

about September 2014, Himpl_er and Dr. Sicuro decided to open Genotec, a clinical testing



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laboratory in the Woodfield Building. Himpler incorporated Genotec as a Missouri corporation

and listed himself as the organizer and registered agent.

       27.     In or about July 2015, Genotec received its CLIA certification and CLIA number,

as required under the Clinical Laboratory Improvement Amendments and regulations issued

pursuant to this federal statute. At that point, Genotec was authorized to perform tests within the

scope of its certification and testing capability.

       28.      On or about March 4, 2015, Dr. Sicuro and Himpler incorporated a second

laboratory, Midwest Toxicology Group, which held itself out as a clinical testing laboratory.

However, Midwest never applied for or received CLIA certification. Thus, Midwest was not

authorized by the Missouri CLIA Program or the Centers for Medicare and Medicaid Services to

perform tests on human specimens. The lack of CLIA certification also meant Health Care

Insurers would not pay for tests performed by Midwest.·

Genotec's Fraudulent Billing for Tests Performed by Reference Laboratories

       29.     At all times relevant to this Indictment, Genotec did not have the necessary testing

equipment to perform quantitative urine drug tests or genetic tests. Genotec did have the

equipment and was able to perform qualitative urine drug tests. Qualitative drug tests detect the

presence of a drug or substance in the urine and provide a simple "yes" or "no" answer regarding

whether the substance has been used or consumed. The much more expensive-quantitative drug

test is used to determine the quantity or amount of the drug or substance detected in the urine and

required testing equipment that Genotec did not have.

        30.     It was part of the conspiracy that Genotec received urine specimens, collected

from patients residing in the St. Louis metropolitan area, and sent or "referred" the specimens to

other laboratories, called reference laboratories, which did the actual testing. The following are



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         some of the reference laboratories that Genotec used for quantitative urine drug testing and

         genetic testing: Cordant Health Solutions, also known as Forensic Drug Testing Laboratory

         located in Denver, Colorado; Western Slope Laboratory, located in Troy, Michigan; Phamatech

         Laboratories and Diagnostics located in San Diego, California; and MediTest Laboratories,

         located in Irvine, California.

I                31.    It was further part ofthe conspiracy that Genotec typically paid the reference
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         laboratories about $125 per specimen for tests performed on the specimen. Upon receiving the

         test results from the reference laboratories, it was Genotec that submitted reimbursement claims

         to Health Care Insurers. This type of billing is sometimes referred to as pass-through billing.

                 32.    As a general rule, Health Care Insurers do not permit pass-through billing and

         instead require the persqn or entity performing the clinical laboratory tests to bill for the tests. As

         an example, Medicare requires that clinical tests be billed directly to Medicare by the laboratory

         or physician performing the tests. If an outside reference laboratory performs a test referred from

         a physician or another laboratory, only the reference laboratory may legally bill Medicare for the

         procedure. Medicare Claims Processing Manual, Section 40.1-"Laboratory Billing for Referred

         Tests." Medicare recognizes three exceptions to this general rule, none of which are applicable to

         Genotec because: (a) Genotec was not located in or part of a rural hospital, (b) Genotec and the
                                                                              '
         reference laboratories did not have a common ownership, and (c) Genotec annually referred

         more than 30% of its laboratory tests to reference laboratories.

                 33.    Even in those circumstances where a referring laboratory is permitted to bill, the

         referring laboratory must inform the Health Care Insurer that a reference laboratory actually

         performed the test. The Medicare Claims Processing Manual, Section 40 .1.1-"Claims

         Information and Claims Forms and Formats" provides: "Independent laboratories shall use


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 modifier 90 to identify all referred laboratory services .... The name, address, and CLIA number

 of both the referring laboratory and the reference laboratory shall be reported on the claim." The

 use of modifier 90 on the reimbursement claim informs the Health Care Insurer that the test was

 performed by a reference laboratory and not the laboratory billing for the test.

        34.     The Private Health Care Companies, from whom Genotec sought reimbursement,

 also required that the person or entity performing the test bill for the test. As an example, United

 Health Care Insurance, also known- as Optum, states in its United Healthcare Provider

 Administrative Guide: "Pass through billing is not permitted and may not be billed to our

 members .... You must not bill 0ur members for any laboratory services for which you lack the

 applicable CLIA certification." Similarly, Cigna, Aetna, and Humana prohibit pass-through

 billing except in very limited circumstances, not applicable to Genotec, and will only reimburse
                                                                                            \-


 for clinical laboratory tests performed by the billing laboratory.

        35.     Contrary to this clear guidance, Genotec's standard practice was to pass-through

 bill Health Care Insurers for tests actually performed by reference laboratories. In thousands of

 claims, Genotec falsely and fraudulently represented that Genotec itself had performed the tests

 and deliberately concealed the fact that the tests were performed by the reference laboratories.

 When Dr. Sicuro and Himpler submitted and caused the submission of these false reimbursement

 claims, they knew Health Care Insurers did not permit pass-through billing and would not

 reimburse Genotec, the referring laboratory, for tests performed by the reference laboratories.

        36.     It was further part of the conspiracy that Himpler prepared or caused the

 preparation of the false and fraudulent reimbursement claims submitted by Genotec and

 Midwest. Dr. Sicuro and Himpler researched the billing codes and chose those that paid the

 highest reimbursement even when the codes were not the appropriate codes. Later, a company
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 owned by Dr. Sicuro's daughters began billing for Genotec and Midwest and continued to

 submit false and fraudulent reimbursement claims.

        37.     It was further part of the conspiracy that GeJiotec and Midwest marked up the

 urine drug tests when seeking reimbursement. In numerous instances, Genotec and Midwest

 billed thousands of dollars for tests, although Genotec and Midwest had only paid about $125 to

 a reference laboratory to perform the test. As an example of the financial harm caused by these

 extreme mark-ups, between January 2015 and October 2015, the UFCW Welfare Fund ofUFCW

 Local #655 paid Genotec $1,086,450.87 and Midwest $150,596.74 for urine drug tests conducted

 on specimens collected from seven individuals. Genotec and Midwest only paid the reference

 laboratories about $5,125.00 to perform all the tests.

        38.     It was further part of the conspiracy that on some occasions, Genotec removed the

 name of the reference laboratory from the report of the test results and substituted the name

 "Genotec Dx" on the front page of the reports.

 Midwest, a Non-CLIA Certified Entity, Billed for Laboratory Tests

        39.     It was part of conspiracy that Dr. Sicuro and Himpler caused Midwest to bill for

· clinical laboratory tests although both knew Midwest was a laboratory in name only. They also

 knew that Midwest, reportedly located in the Craig Building where Dr. Sicuro had. a medical

 practice, did not have equipment or other supplies necessary to do quantitative urine drug tests

 and genetic tests. Moreover, both Dr. Sicuro and Himpler knew Midwest never applied for and

 never received CLIA certification, which they knew was required before a laboratory could

 perform clinical laboratory tests.

        40.     It was part of the conspiracy that Dr. Sicuro and Himpler caused Midwest to

 submit reimbursement claims that falsely and fraudulently represented that Midwest had



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 performed tests when they knew Midwest had not performed the tests. Dr. Sicuro and Himpler

 also made or caused other affirmative misrepresentations and material omissions to be included
                                    I


 in reimbursement claims submitted by Midwest, including: (a) Midwest used the CLIA number

 assigned to Genotec, although the Defendants knew the CLIA number could only be used by

 Genotec for tests performed by Genotec at its location and (b) Midwest did not use the modifier

 "90" and did not list the name, address, and CLIA number of the reference laboratory where the

 test was actually performed.

 Fraudulent Unbundling of Tests by Genotec and Midwest

        41.     A panel test includes multiple tests to be performed on a single blood or urine

 specimen. Unbundling occurs when the tests in a panel are pulled apart and some or all of the

 tests are billed separately. Medicare and many private health care insurers require laboratories to

 bill using the CPT code for the panel and not the CPT codes for each of the separate tests in the

 panel: In short, Medicare and many private health care insurers prohibit unbundling. In almost all

 instances, a laboratory receives a lower reimbursement for the panel test than the laboratory

 would receive if the laboratory billed each or some tests separately.

        42.     It was part of the conspiracy that Dr. Sicuro and Himpler caused Genotec and

 Midwest to separate the tests in a panel into several "bundles" of tests. Genotec would bill for

 one bundle of tests, using one set of billing codes, and Midwestwould bill for another bundle of

 tests, using a different set of billing codes. This resulted in Genotec and Midwest receiving

 payments far in excess of what they would have received without the unbundling and also

 prevented the insurance companies from discovering that two claims were submitted for tests on

 a single specimen obtained from the same patient on the same date of service.

        43.     It was part of the conspiracy that Dr. Sicuro and Himpler caused Midwest and



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          Genotec to submit numerous claims for the same patient for the same date of service, thereby

          falsely and fraudulently representing that two separate, unrelated laboratories had performed

          tests. By using two laboratories, Dr. Sicuro and Himpler hoped to minimize the risk of scrutiny,

          audits, and investigations. The following chart reflects examples of Genotec and Midwest billing

          and being paid for tests on a single specimen collected on the same date of service.


   I
Patient           Insurance         Date of Genotec             Genotec      Midwest       Midwest         Total
   I
             J    Company           Service Billed              Paid         Billed        Paid            Payments
   I
                                            Amount              Amount       Amount        Amount
Patient MD        Aetna/Coventry    9/22/15 $22,500.00          $9,000.00    $2,465.77     $667.93         $9,667.93
   !
   i

Patient IH        Aetna/Coventry    7/13/15    $2,415.76        $1,994.18    $26,999.91    $13,499.91      $15,494.09

Patient JH
   I
                  Aetna/Coventry    7/6/15     $7,617.32        $4,394.31    $26,999.91    $8,999.96       $13;394.27
   I
Patient KH        UFCW              7/14/15    $29,230.00       $24,845.50   $20,378.90    $17,322.05      $42,167.55
   I
   I
Patient MW        UFCW              7/14/15    $21,330.00. $18,130.50        $20,378.90    $17,322.05      $35,452.55
   I
Patient MW        UFCW              7/28/15    $22,120.00       $18,802.00   $23,091.69    $19,627.90      $38,429.90
   I
   I



Patient TL        UFCW              8/3/15     $22,120.00       $18,802.00   $20,261.69    $17,222.40      $36.. 024.40
   I

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                 44.     It was also part of the conspiracy that Dr. Sicuro and Himpler caused separate

          reimbursement claims to be submitted on different days for the same patient for the same date of

          'service. Each reimbursement claim reflected the same date of service, and the same diagnosis

          code, but each claim contained 4 to 6 CPT codes for different tests.

          Dr. Sicuro's Referrals to Laboratory He Owned

                 45.     It was further part of the conspiracy that Dr. Sicuro and Himpler intentionally

          structured Genotec to circumvent federal law, including what commonly is known as the "Stark

          Law," which prohibits doctors from referring Medicare patients for designated health services to

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 a facility where the doctor has a financial interest. Although Genotec was organized by Himpler,

 Dr. Sicuro was an owner in fact and had a financial interest in Genotec as evidenced by his

 receipt of millions of dollars from Genotec for laboratory tests billed by Genotec.

 Use of Criminal Proceeds by Dr. Sicuro and Himpler

         46.    It was further part of the conspiracy that Dr. Sicuro and Himpler opened a bank

 account for Genotec DX, LLC, ending in #3273, and a bank account for Midwest Toxicology

 Group, LLC, ending in #6170, and directed Health Care Insurers to deposit insurance payments

 in these two accounts. In 2015, Dr. Sicuro and Himpler caused over $15 million in fraudulent

 insurance payments to be deposited into these two accounts. Thereafter, Dr. Sicuro and Himpler

 caused funds from the two accounts to be transferred into other accounts owned or controlled by

 them and used these transferred funds to purchase real and personal property.

                                              Overt Acts

          47.   In furtherance of the conspiracy and to affect the objects of the conspiracy, the

 following overt acts, among others, were committed in the Eastern District of Missouri:

                a.      On or about September 25, 2015, Dr. Sicuro approved an order for

                        t'Labs/Tests: UDS" for Patient CM.

                b.      On or about September 26, 2015, Dr. Sicuro initialed the Specimen Final

                        Outcome-Screen and Confirmation Results for tests performed at Forensic

                        Laboratories for Patient K.F.

                c.      On or about October 8, 2015, Dr. Sicuro .ordered a custom urine drug

                        profile for Patient J.T.

                d.      On or about October 14, 2015, Dr. Sicuro ordered a custom urine drug

                        profile for Patient C.C.



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             e.    On or about October 22, 2015, Dr. Sicuro ordered "Labs: UDS" for

                   Patient N .E.

             f.    On or about October 29, 2015, Dr. Sicuro ordered "UDS" for Patient K.G.

             g.    On or about November 4, 2015, Himpler emailed Karen Sutterer, CLIA

                   Health Facilities Consultant, regarding CLIA accreditation, the purchase

                   of an analyzer, and provided the list of assays tested by Genotec.

             h.    On or about November 19, 2015, Himpler met with and answered

                   questions fSlr a CLIA Health Facilities Consultant during the CLIA site-

                   survey at Genotec.

             1.    On or about November 23, 2015, Dr. Sicuro emailed himself an email

                   from his daughter, which email contained information concerning

                   reimbursements paid to both Himpler and Dr. Sicuro for Genotec and

                   Midwest.

             J.    On or about April 4, 2016, in response to United Health Care's (UI:IC)

                   request for medical records, Himpler mailed a letter to UHC stating "All

                   debts owed to the limited liability company (Midwest) and all claims

                   against the limited liability company will be rec~ived by Himpler at the

                   business address set forth above."

             k.    On or about May 24, 2016, Himpler sent a fax to UHC stating Midwest

                   went out of business on April 24, 2016.

             1.    On or about October 5, 2015, Dr. Sicuro transferred or caused

                   $516,611.00 to be transferred from the Genotec account at Simmons Bank

                   to his personal bank account at US Bank, ending in #4825.



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                  m.      On or about November 2, 2015, Dr. Sicuro transferred or caused

                          $1,271,000.00 to be transferred from the Genotec account at Simmons

                          Bank to US Bank account #4825.

                  n.      On or about November 2, 2015, Dr. Sicuro transferred or caused

                          $397,709.00 to be transferred from the Genotec account at Simmons Bank

                          to US Bank account #4825.

                  o.      On or about November 2, 2015, Dr. Sicuro transferred or caused

                          $66,805.00 to be transferred from the Midwest account at Simmons Bank

                          to US Bank account #1825.

                  p.      On or about November 2, 2015, Dr. Sicuro transferred or caused

                          $215,500.00 to be transferred from the Midwest account at Simmons Bank

                          to US Bank account #4825.

                  q.      On or about November 25, 2015, Dr. Sicuro transferred or caused

                          $297,500.00 to be transferred from the Midwest account at Simmons Bank

                          to US Bank account #4825.

           All in violation of Title 18, United States Code, Section 371.

                                              Counts 2-7
                                      Health Care Fraud Scheme,
                                       18 U. S. C. §§ 1347 and 2

           48.   Paragraphs 1 to 18 and 22 to 47 are incorporated by reference as if fully set out

 herein.

           49.    As part of the scheme and artifice to defraud, Dr. Sicuro and Himpler submitted

 and caused reimbursement claims to be submitted to Health Care Insurers, which.claims falsely

 and fraudulently represented that Midwest or Genotec had performed the listed tests when they



                                                    17
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     knew a reference laboratories had performed the tests. The following are examples of some of

     these false and :fraudulent claims:

Billed by     Patient     Date of     Date of        Amount            Amount             Insurer
                          Service     Claim          Billed            Paid
Genotec       AF          8/28/15     9/4/15         $38,710.00        $19,355.00         Aetna Coventry
Genotec       DF          9/11/15     9/22/15    I
                                                     $77,420.00        $12,774.30         Aetna Coventry
Genotec       KF          8/24/15     9/13/15        $33,599.79        $30,239.79         UHC
Genotec       JR          7/20/15     10/13/15       $56,999.62        $51,299.63         UHC
Genotec       TF          6/25/15     9/11/15        $2,649.95         $354.75            BCBS
Genotec       KG          8/14/15     9/11/15        $2,649.95         $354.75            BCBS
MTG           LB          7/7/15      10/2/15        $34,499.77        $6,623.97          Cigna (MTG claims)
MTG           BK          7/22/15     8/28/15        $34,777.00        $4,137.24          Cigna (MTG claims)
Genotec       MZ          6/16/15     9/3/15         $4,610.58         $811.33           ·Medicare
Genotec       TM          6/16/15     9/3/15         $4,610.58         $811.33            Medicare


             50.     On or about the dates listed below, in the Eastern District of Missouri,

                                           FRANCO SICURO, M.D.,
                                                   and
                                            CARLOS HIMPLER,

     the defendants herein, knowingly and willfully executed and attempted to execute, the above

     descn"b ed scheme or art1"fiice to d efr aud t h e l"1sted h eat
                                                                    1h care b enefi1t programs, m connection
                          I


     with the delivery and payment for health care benefits, items, and services, that is, the defendants

     submitted, and caused to be submitted false reimbursement claims for clinical laboratory tests

     that they knew Genotec and Midwest had not performed:

Count     Patient     Date of       Date of            Amount            Amount              Insurer
                      Service       Claim              Billed            Paid
2         DG          8/25/15       9/17/15            $33,599.79        $17,903:79          UHC
3         CM          9/25/15       10/14/15         - $56,999.62        $14,759.96          UHC
4         LA          11/11/25      11/23/15           $27,582.84        $14,082.84          Aetna Coventry
                              1
5         DF          9/24/15       10/5/15            $38,710.00        $12,774.30          Aetna Coventry
6         DD          11/2/15       11/11/15           $27,582.84        $10,234.99          Aetna Coventry
7         DF          9/11/15       9/22/15            $77,420.00        $12,774.30          Aetna Coventry


             All in violation of Title 18, United States Code, Sections 1347 and 2.


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                                             Counts 8-17
                                      Health Care Fraud Scheme
                                       18 U. S. C. § 1347 and 2

           51.    Paragraphs 1 to 18 and 22-4 7 are incorporated by reference as if fully set out

 herein.

           52.    On or about the dates listed below, in the Eastern District of Missouri and

 elsewhere,

                                      FRANCO SICURO, M.D.,
                                              and
                                       CARLOS IDMPLER,
                                                    I
 the defendants herein, knowingly and willfully executed and attempted to execute, the above

 described scheme or artifice to defraud the listed health care benefit programs, in connection

 with the delivery and payment for health care benefits, items, and services, that is, the defendants

 submittedJ and caused to be submitted, false reimbursement claims from both Genotec and

 Midwest for clinical laboratory tests that had been unbundled and had not been performed by

 either Genotec or Midwest.

Count      Patient   Date of    Claim          Claim         Payment       Payment Insurance
                     Service    Submitted      Amount        Amount        Date    Company
                                by
8          AB        7/17/15    Midwest        $6,764,71   $299.16   9/21/15           UHC
9          AB        7/17/15    Genotec        $56,999.62 $49,655.92 10/16/15          UHC
10         NE        10/22/15 Midwest          $24,965.77 $9,362.62  11/12/15          Aetna Coventry
11         NE        10/22/15 · Genotec        $2,617.11   $872.37   11/3/15           Aetna Coventry
12         DM        10/23/15 Midwest          $24,965.77 $15.926.26 11/25/15          Aetna Coventry
13         DM        10/23/15 Genotec          $2,617.11 . $2,327.66 12/3/15           Aetna Coventry
14         MK        10/23/15 Midwest          $2,465.77   $1,392.73 11/3/15           Aetna Coventry
15         MK        10/23/15 Genotec          $22,500.00 $20,250.00 11/3/15           Aetna Coventry
16         MF        10/26/15 Midwest          $2,i85.80   $992.66   11/10/15          Cigna
17         MF        10/26/15 Genotec          $32,399.67 $2,549.92  11/10/15          Cigna


           All in violation of Title 18, United States Code, Sections 1347 and 2.
                                                         l




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                                                Counts 18-19
                            Money Laundering- Monetary Transactions in Property
                                  Derived from Specified Unlawful Activity
                                           18 U. S. C. § 1957 and 2

                 53.     Paragraphs 1 to 18 and 22 to 47 are incorporated by reference as if fully set out

       herein.

                 54.     On or about the dates indicated below, in the Eastern District of Missouri,

                                             FRANCO SICURO, M.D.,

'
       the defendant herein, did knowingly engage and attempt to engage in a monetary transaction by,
',
       through, or to a financial institution, affecting interstate or foreign commerce, in criminally
I .
       derived property of a value greater than $1 o;ooo, such property having been derived from a

       specified unlawful activity, that is, a health care fraud scheme, in violation of Title 18, United

       States Codes, Sections 1347.

        COUNT              DATE                                  ·TRANSACTION

        18             Jan.25,2016        $3,000,000.00 check #6500 from US 'Bank account ending in
                                          #4825 payable to Kings Maffett LLC deposited into US Bank
                                          account ending in #7468
        19             Feb. 17,2016       $29,642.42 electronic payment from US Bank account ending
                                   ,.
                                          in #4825 to a Bank of America account


                 In violation of Title 18, United States ~odes, Sections 1957 and 2.

                                                Counts 20-21
                            Money Laundering- Monetary Transactions in Property
                                  Derived from Specified Unlawful Activity
                                           18 U.S. C. § 1957 and 2

                 55.     Paragraphs 1 to 18 and 22 to 47 are incorporated by reference as if fully set out

       herein.

                 56.     On or about the dates set forth below, in the Eastern District of Missouri, and

       elsewhere,

                                                          20
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                                       CARLOS HIMPLER,

 the defendant herein, did knowingly engage and attempt to engage in the following monetary

 transactions by, through, or to a financial institution, affecting interstate or foreign commerce, in

 criminally derived property of a value greater than $10,000, such property having been derived

 from a specified unlawful activity, that is, a health care fraud scheme in violation of Title 18,

 United States Codes, Section 1347.

  COUNT            DATE                                   TRANSACTION

  20          Aug. 3, 2016        $48,189 check drawn from Carrolton Bank account ending in
                                  #6197 payable to Bommarito Automotive
  21          April 6, 2017       $500,000 check #2010 from Simmons Bank account ending in
                                  #3265 payable to Himpler Qualified Spousal Trust deposited
                                  into Carrolton Bank account ending in #2829


        All in violation of Title 18, United States Code, Sections 1957 and 2.


                                 FORFEITURE ALLEGATIONS

        The Grand Jury further finds by probable cause that:

         1.     Pursuant to Title 18, United States Code, Sections 982(a)(7), upon conviction of

 an offense in violation of Title 18, United States Code, Section 1347, or conspiracy to commit

 said offenses, as set forth in Counts 1 through 17, the defendants shall forfeit to the United States

 of America any property, real or personal, that constitutes or is derived, directly or indirectly,

 from gross proceeds traceable to the commission of the offense. Subject to forfeiture is a sum of

 money equal to the total value of any property, real or personal, constituting or derived from any

 proceeds traceable to said offense.

         2.        Pursuant to Title 18, United States Code, Section 982(a)(l), upon conviction of

 an offense in violation of Title 18, United States Code, Section 1957, as set forth in Counts 18


                                                   21
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 through 21, the defendants shall forfeit to the United States of America any property, real or

 personal, involved in such offense, and any property traceable to such property. Subject to

 forfeiture is a sum of money equal to the total value of any property, real or personal, involved in

 such offenses, or any property traceable to such property.

        3.           Specific property subj~ct to forfeiture includes, but is not limited to, the

 following:

                a.        Certain real property located at 227 Lansing Island Dr. Indian Harbour
                          Beach, FL 32937, together with all appurtenance, improvements, and
                          attachments thereon, which is more particularly described as LOT
                          NUMBER: 67; SUBDIVISION: LANSING ISLAND PH 02;
                          CITY/MUNI/TWNSP:             INDIAN         HARBOUR           BEACH;
                          SEC/TWN/RNG/MER: SEC 03 TWN 27 RNG 37; TRACT: 0665001004;
                          Parcel Number: 27-37-03-01-00000.0-0067.00;

                b:        Certain real property located at 10199 Woodfield Lane, St. Louis, MO
                          63132, together with all appurtenance, improvements, and attachments
                          thereon, which is more particularly described as Lot 25 of Corporate Square
                          Plat No. 3, a subdivision in St. Louis County, Missouri, according to the
                          plat thereofrecorded in Plat Book 188 Pages 88 through 90 and Surveyor's
                          Affidavit recorded in Book 7224 Page 2286 of the St. Louis County
                          Records, Parcel #16M-21-0167;

                c.        Certain real property located at 17133 N. Lakeway Ave, Baton Rouge, LA
                          70810, together with all appurtenance, improvements, and attachments
                          thereon, which is more particularly described as Country Club of Louisiana,
                          Parcel 16, Phase IV, Lot, Parcel #00126284;

                d.        2013 Audi S8 Quattro, VIN: WAUD2AFD3DN017148;

                e.        2015 Cadillac Escalade, VIN: 1GYS4BKJ9FR273158;

                f.        2019 Land Rover Range Rover, VIN: SALGS2SVXKA544511;
                          1
                g.        $654;806.74 in electronic funds from Carrollton Bank account ending in
                          #2829 held in the name ofHimpler Qualified Spousal Trust dated 9/24/15;

                h.        $200,000.00 in electronic funds previously h~ld in Carrollton Bank account
                          ending in #2829 held in the name of Himpler Qualified Spousal Trust dated
                          9/24/15;




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                    1.        All funds, credits, and monetary instruments up to $80,213.98 in or
                              associated with Carrollton Bank account ending in #6444 held in the name
I
I                             of Carlos Himpler and Ashley Himpler;
t
                    J.        All funds, credits, and monetary instruments in or associated with LPL
                              Financial investment account ending in #1498 held in the name of Carlos
                              Himpler & Ashley Himpler TTEES Himpler Qualified Spousal Trust DTD
                              09-24-15;

                    k.        All funds, credits, and monetary instruments in or associated with LPL
                              Financial investment account ending in #5497, held in the name of Carlos
                              Himpler & Ashley Himpler TTEES Himpler Qualified Spousal Trust DTD
                              09-24-15;

                    L         All funds, credits, and monetary instruments up to $200,000.00 in or
                              associated with Interactive Brokers Account ending in #0716 held in the
                              name of Carlos Himpler TOD Ashley Himpler;

                    m.        All funds, credits, and monetary instruments up to $300,000 in or associated
                              with LPL Financial investment account ending in #6010 held in the name
                              of Franco Sicuro TTEE Sicuro Living Trust DTD 10-22-01; and

                    n.        All funds, credits, and monetary instruments up to $1,000,000.00 in or
                              associated with PNC Wealth Management Account ending in #8063, held
                              in the name of Angela Clemente Trust.

               4.           If any of the property described above, as a result of any ·act or omission of

     the defendants:

                       a.       cannot be located upon the exercise of due diligence;

                    b.          has been transferred or sold to, or deposited with, a third party;

                       c.        has been placed beyond the jurisdiction of the court;

                       d.       has been substantially diminished in value; or

                       e.      · has been commingled with other property which cannot be divided

                              without difficulty;




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 the United States of America will be entitled to the forfeiture of substit~te property pursuant to

 Title 21, United States Code, Section 853(p).




                                                       A TRUE BILL.



                                                       FOREPERSON

 CARRIE ,COSTANTIN
 Attorney for the United States
 Acting Under Authority
.Conferred by28 U.S.C. § 515



 DOROTHY L. McMURTRY, #37727MO
 Assistant United States Attorney




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